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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov



    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                    NOTICE OF FILING ASSET PURCHASE AGREEMENT

    PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.   Attached hereto as Exhibit A is a signed copy of the Asset Purchase Agreement

(“APA”) of the Successful Bidder G3 Business Services, LLC.

Dated December 11, 2024.

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Monique D. Hayes, Esq.
                                                      Florida Bar No. 843571
                                                      Email: monique@dgimlaw.com




                                      CERTIFICATE OF SERVICE


1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
              Case 24-21209-LMI         Doc 108       Filed 12/11/24    Page 2 of 46




       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 11 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




                                                  2
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Label Matrix for local noticing                Balanced Management, LLC                        Century Tacos, Inc.
113C-1                                         1800 Second St.                                 c/o Leyza B. Florin, Esq.
Case 24-21209-LMI                              Unit 603                                        Sequor Law
Southern District of Florida                   Sarasota, fl 34236-5990                         1111 Brickell Avenue
Miami                                                                                          Suite 1250
Mon Dec 2 14:16:19 EST 2024                                                                    Miami, FL 33131-3133
Foundry ASVRF Sawgrass, LLC                    Golden Taco, Inc.                               Los Angeles West Taco, Inc.
c/o Michael S. Provenzale                      c/o Leyza B. Florin, Esq.                       c/o Leyza B. Florin, Esq.
P.O. BOX 2809                                  Sequor Law                                      Sequor Law
ORLANDO, FL 32802-2809                         1111 Brickell Avenue                            1111 Brickell Avenue
                                               Suite 1250                                      Suite 1250
                                               Miami, FL 33131-3133                            Miami, FL 33131-3133
Pacific Coast Taco, Inc.                       ReThink Human Capital Management, Inc           ShiftPixy Staffing, Inc
c/o Leyza B. Florin, Esq.                      4101 NW 25th Street                             4101 NW 25th Street
Sequor Law                                     Miami, FL 33142-6725                            Miami, FL 33142-6725
1111 Brickell Avenue
Suite 1250
Miami, FL 33131-3133
ShiftPixy, Inc.                                Tacos 2000, Inc.                                (p)INTERNAL REVENUE SERVICE
4101 NW 25 Street                              c/o Leyza B. Florin, Esq.                       CENTRALIZED INSOLVENCY OPERATIONS
Miami, FL 33142-6725                           Sequor Law                                      PO BOX 7346
                                               1111 Brickell Avenue                            PHILADELPHIA PA 19101-7346
                                               Suite 1250
                                               Miami, FL 33131-3133
4te Inc                                        A & A Ornamental, Inc                           ADP/MASTER TAX
PO Box 4048,                                   18731 SW 87th Ave                               MasterTax, LLC
Mission Viejo, CA, 92690-4048                  Cutler Bay, FL 33157-7224                       111 W. Rio Salado Parkway,
                                                                                               Tempe, AZ 85281-2878


AGP/ALLIANCE GLOBAL PARTNERS                   ALLIED SPORTS LLC                               AMWINS GROUP BENEFITS
590 MADISON AVE,                               PO BOX 845785                                   PO BOX 71051,
NEW YORK, NY 10022-2524                        BOSTON, MA, 02284-5785                          CHARLOTTE, NC, 28272-1051



ANKURA                                         ARRAY                                           ARTHUR J GALLAGHER RK MGMT SRV
201 E WASHINGTON ST, SUITE 1700,               624 S AUSTIN AVE,                               PO BOX 532143,
PHOENIX, AZ 85004-2245                         SUITE 230,                                      ATLANTA, GA 30353-2143
                                               GEORGETOWN, TX, 78626-5758


AT&T                                           Alpha Capital Anstalt                           AmWINS Specialty Casualty Solutions
PO Box 6463,                                   c/o LH Financial                                10 S LaSalle St, Suite 1500,
Carol Stream, IL, 60197-6463                   510 Madison Avenue                              Chicago, IL 60603-1077
                                               14th Floor
                                               New York, NY 10022-5730

American Recruiting & Consulting Group         AppsFlyer                                       Arizona Department of Economic Security
2200 N Commerce Pkwy, Suite 200,               100 1 ST St, 25th FL,                           PO Box 6028, Mail Drop 5881,
Weston, FL 33326-3258                          San Francisco, CA 94105-3082                    Phoenix, AZ 85005-6028



Arizona Department of Revenue                  Arondight Advisors                              Asurint
PO Box 29085,                                  120 Wall St,                                    File 2418,
Phoenix, AZ 85038-9085                         New York, New York 10005-3904                   1801 W Olympic Blvd,
                                                                                               Pasadena, CA 91199-0001
                                 Case 24-21209-LMI      Doc 108           Filed 12/11/24      Page 4 of 46
Audio Video Cameras Serv Corp                  BAKER TILLY US, LLP                                BEST OFFICE COFFEE SERVICES
AUDIO VIDEO CAMERA & SERVICES CORP.            PO Box 511563,                                     13130 SW 130 TERRACE,
3600 W PALM CT, HIALEAH, FL 33012              Los Angeles, CA, 90051-8118                        MIAMI, FL 33186-5895



BREX CC                                        BREX GHOST KITCHEN                                 BTERREL GROUP
Brex Payments LLC                              650 S 500 W Suite 300                              4324 Mapleshade Ln, Suite 103,
650 S 500 W., Suite 300,                       Salt Lake City, UT 84101-2891                      Plano, TX 75093-0050
Salt Lake City, UT 84101-2891


BUSINESS WIRE DEPT 34182                       BairesDev LLC                                      BairesDev LLC
PO BOX 39000,                                  800 W El Camino                                    c/o Tyler R. Dowdall, Esq.,
SAN FRANCISCO, CA 94139-0001                   Mountain View, CA 94040-2567                       Tarter Krinsky & Drogin, LLP,
                                                                                                  1925 Century Park East, Suite 400N,
                                                                                                  Los Angeles, California 90067-2701

Balanced Management                            Balanced Management, LLC                           Balanced Management, LLC
Registered Agents Inc.                         10880 Wilshire Blvd. 19th Floor                    1682 Pintail Way
7533 S. Center View CT                         Los Angeles, CA 90024-4101                         Sarasota, FL 34231-9136
Ste R
West Jordan, UT 84084-5526

Balanced Management, LLC                       Balanced Management, LLC                           Balanced Management, LLC
26 S. Rio Grande St. #2072                     3017 Bolling Way NE                                315 E 62 floor 3
Salt Lake City Utah 84101-1179                 Atlanta, GA 30305-2205                             New York, NY 10065-7767



Balanced Management, LLC                       Berkowitz Pollack Brant Advisors CPA               Bright Labs Services LLC
441 Lexington Ave                              PO Box 735244,                                     485 Lexington Ave 10th FL,
18th Floor                                     Dallas, TX, 75373-5244                             New York, NY, 10017-2619
New York, NY 10017-3924


(p)BROADRIDGE FINANCIAL SOLUTIONS              Broadridge ICS                                     CDW DIRECT
1155 LONG ISLAND AVENUE                        PO BOX 416423,                                     200 N. MILWAUKEE AVE,
EDGEWOOD NY 11717-8309                         BOSTON, MA, 02241-6423                             VERNON HILLS, IL 60061-1577



CINTAS                                         CK Administrative Services LLC                     CT Corporation
PO BOX 631025                                  777 S Figueroa Street,                             PO Box 4349
CINCINNATI, OH, 45263-1025                     Suite 4100                                         Carol Stream, IL 60197-4349
                                               Los Angeles, CA 90017-5841


CUSIP GLOBAL SERVICES                          Calabrese Consulting LLC                           California Employment Development Department
55 WATERS ST,                                  24 North King Street,                              3321 Power Inn Road,
NEW YORK, NY 10041-0016                        Malverne, NY 11565-1002                            Suite 140, #759
                                                                                                  Sacramento, CA 95826-3893


California Employment Development Department   California Employment Development Department       Call & Jensen
PO Box 989061,                                 PO Box 997418 Sacramento, CA 95899                 810 Newport Center Dr
West Sacramento, CA 95798-9061                                                                    Newport Beach, CA 92660
                                Case 24-21209-LMI    Doc 108          Filed 12/11/24       Page 5 of 46
Call & Jensen                               Chirstopher A Sebes                                Christopher A Sebes
810 Newport Center Dr, Suite 700,           5730 Claridon Drive                                5730 Claridon Drive,
Newport Beach, CA, 92660                    Naples, FL 34113-8385                              Naples, FL 34113-8385



Cloudflare, Inc                             DC Office of Tax and Revenue- Compliance Adm       DGA SECURITY
Mail Code: 5267,                            1101 4th Street SW,                                429 WST 53RD STREET
PO Box 660367,                              Washington, DC 20024-4457                          NEW YORK, NY 10019-5791
Dallas, TX, 75266-0367


Discount Edgar                              Dominion Capital, LLC                              Doug Greene
125 Wolf Road, Suite 315,                   341 West 38th Street                               6805 Ingalls Court,
Albany, NY 12205-1221                       Suite 800                                          Galena, OH, 43021
                                            New York, NY 10018-9686                            ipCapital Group Inc
                                                                                               426 Industrial Ave, Suite 150,
                                                                                               Willston, VT, 05495-4459
Drexel Hamilton, LLC                        EL TORO LLC                                        ELITE AUDIO VIDEO OF SO FL
77 Water ST                                 552 E MARKET STREET,                               12241 SW 185TH ST,
New York, NY 10005-4420                     LOUISVILLE, KY 40202-7111                          MIAMI, FL 33177-3181



ELITE BUSINESS VENTURES                     ENCORE                                             EQUISOLVE
PO BOX 6510,                                EVENT TECHNOL CEASARS PALACE,                      3500 SW Corporate Pkwy,
PASADENA, CA 91109-6500                     8850 W SUNSET RD, 3RD FL,                          Palm City, FL 34990-8185
                                            LAS VEGAS, NV 89148-4897


Eduardo J. Dominguez                        Email Outreach Company                             Empire Marketing Ventures LLC
5778 Devonshire Blvd.                       651 N Broad St, Suite 206,                         383 Madison Ave,
Miami, FL 33155-4062                        Middletown, Delaware 19709-6402                    New York, NY 10017-3217



Employment Development Department           Enlyte                                             FL POWER HOUSE
722 Capitol Mall                            PO Box 88026,                                      2310 NW 102ND PLACE
Sacramento, CA 95814-4703                   Chicago, IL 60680-1026                             DORAL, FL 33172-2517



FLORIDA POWER AND LIGHT                     FLORIDA POWER AND LIGHT FPL                        FRANCHIMP LTD
21400 Powerline Road                        General Mail Facility                              Kristine M Rogalewski-Mayo
Boca Raton, FL 33433-2312                   Miami, FL 33188-0001                               18531 N Steet,
                                                                                               Scottsdale, AZ, 85255


First Impulse                               Fisher Phillps LLP                                 Fisher Phillps LLP
18 Goodyear, Suite 125,                     2050 Main St                                       2050 Main St, Suite 1000,
Irvine, CA 92618-3750                       Irvine, CA 92614-8255                              Irvine, CA 92614-8240



Florida Department of Revenue               Florida Department of Revenue                      Florida Department of Revenue
2450 Shumard Oak Blvd                       5050 West Tennessee Street,                        Miami Service Center
Tallahassee, FL 32399-7022                  Tallahassee, FL 32399-0100                         3750 NW 87th Avenue, Suite 300,
                                                                                               Doral, FL 33178-2430
                                 Case 24-21209-LMI      Doc 108          Filed 12/11/24       Page 6 of 46
GITLAB INC                                     GUMMICUBE, INC                                     GUROCK
PO BOX 8244,                                   50 E ST JOHN ST,                                   0801 N Mopac Expressway,
PASADENA, CA, 91109-8244                       SAN JOSE, CA 95112-5596                            Building 1, Suite 100,
                                                                                                  Austin, TX, 78759


Gallagher Bassett                              Gentry Partnership In                              Gentry Partnership, Inc
Services, Inc                                  11523 Palmbrush Trail, Suite 193,                  11523 Palmbrush Trail
15763 Collections                              Lakewood Ranch, FL 34202-2917                      Bradenton, FL 34202-2917
Center Drive,
Chicago, IL 60693-0001

Gordon Rees Scully Mansukhani, LLP             Grasso Global Inc                                  HEISE SUAREZ MELVILLE, P.A.
275 Battery Street, 20th Fl,                   Levinson Arshonsky Kurtz & Komsky LLP              2990 Ponce de Leon Blvd, Suite 300,
San Francisco, CA 94111-3367                   15303 Ventura Blvd, Suite 1650,                    Coral Gables, FL 33134-6803
                                               Sherman Oaks, CA 91403-6620


HUB International Insurance Services Inc       Huggins Actuarial Services Inc                     ICR LLC
16030 Venture Blvd,                            111 Veterans Square, Third Floor,                  761 Main Ave
Suite 500,                                     Media, PA 19063-3292                               Norwalk, CT 06851-1080
Encino, CA 91436-2766


INTRADO DIGITAL MEDIA, LLC                     IOWA Workforce Development Unemployment Insu       IPFS Corporation
C/O INTRADO CORPORATION,                       1000 E Grand Avenue,                               3522 Thomasville Rd
PO BOX 74007143,                               Des Moines, IA 50319-0220                          Tallahassee, FL 32309-3488
CHICAGO, IL, 60674-7143


IPFS Corporation                               IPFS Corporation 3522                              IRS
3522 Thomasville Rd,                           Thomasville Rd                                     Worland, WY 82401
Suite 400,                                     Tallahassee, FL 32309
Tallahassee, FL 32309-3488


Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                         Idaho State Tax Commission
Unit 317 W Main Street,                        11321 W Chinden Blvd,                              PO Box 36,
Boise, ID 83735-0001                           Boise ID 83714-1021                                Boise, ID 83722-0036



Illinois Department of Employment Security     (p)ILLINOIS DEPARTMENT OF REVENUE                  Innovative Coverage Concepts LLC
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                    c/o Arthur J Gallagher & Co,
33 S State Street, 10th Floor,                 PO BOX 19035                                       200 Jefferson Park,
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                          Ste 110 - 200,
                                                                                                  Whippany, NJ 07981-1076

IntacctDept 3237,                              Internal Revenue Service                           Internal Revenue Service Centralized Insolve
PO Box 123237,                                 Centralized Insolvency Operation                   PO Box 7317
Dallas, TX, 75312-3237                         PO Box 7317                                        Philadelphia, PA 19101-7317
                                               Philadelphia, PA 19101-7317


J David Tax Law LLC                            JOBOT, LLC                                         Judith Simpson
7077 Bonneval Road, Suite 200,                 18575 JAMBOREE RD, SUITE 600,                      1939 Festival Court
Jacksonville, FL 32216-6073                    IRVINE, CA 92612-2554                              Joliet, IL 60435
                                  Case 24-21209-LMI     Doc 108           Filed 12/11/24   Page 7 of 46
KARLINSKY LLC                                  KPA SERVICES LL                                 Kansas Department of Revenue
103 Mountain Rd                                PO Box 83301,                                   Division of Taxation
Cornwall On Hudson, NY 12520-1802              Woburn, MA, 01813-3301                          12 SE 10th Avenue,
                                                                                               Topeka KS 66625-0001


Kansas Department of RevenueDivision of Taxa   Kenneth Weaver                                  Klein & Wilson
PO Box 3506, Avenue,                           901 Riverside Drive                             4770 Von Karman,
Topeka, KS 66601-3506                          Old Hickory, TN 37138-3150                      Newport Beach, CA 92660-2123



LANIER PARKING                                 LEAPROS WORKFORCE SOLUTIONS                     LOEB & LOEB LLP
647 BRICKELL KEY DR, SUITE 1,                  PO BOX 432,                                     345 PARK AVE,
MIAMI, FL 33131-2622                           HUNTINGTON BEACH, CA 92648-0432                 NEW YORK, NY 10154-1895



Lamb McErlane PC                               Launay Patrice, PEJ CONSULTING                  Lemke Mediation
24 E. Market St, PO Box 565,                   1560 Sawgrass Corporate Pkwy,                   515 S Flower St, Suite 1800,
West Chester, PA 19381-0565                    4th FL Suite 423-C,                             Los Angeles, CA 90071-2231
                                               Sunrise, FL 33323-2858


LexisNexis                                     Lowenstein Sandler LLP                          Lowenstein Sandler LLP
28544 Network Place,                           Attn: William B. Farrell                        One Lowenstein Drive
Chicago, IL, 60673-1285                        One Lowenstein Drive                            Roseland, NJ 07068-1791
                                               Roseland, NJ 07068-1791


Lowenstein Sandler LLP                         Lydecker LLP                                    MEF I, LP
One Lowenstein Drive,                          1221 Brickell Ave, 19th FL,                     40 Wall Street
Roseland, New Jersey 07068-1791                Miami, FL 33131-3240                            New York, NY 10005-1304



MELTWATER NEWS U                               MILNER - USAGE                                  MILNER INC
Dept LA 23721,                                 PO BOX 923197,                                  PO BOX 105743
Pasadena, CA, 91185-3721                       NORCROSS, GA, 30010-3197                        ATANTA, GA, 30348-5743



MILNER INC - BRICKELL                          MINERAL INC                                     MINTZ
PO BOX 41602,                                  6701 Koll Center Parkway, Suite 430,            666 Third Avenue
PHILADELPHIA, PA, 19101-1602                   PLEASANTON, CA 94566-8065                       New York, NY 10017-4011



MINTZ                                          Marcum & Kliegman LLP                           Marcum & Kliegman LLP
Chrysler Center,                               750 Third Ave                                   750 Third Ave 11th FL,
666 Third Avenue,                              New York, NY 10017-2703                         New York 10017-2716
New York, NY 10017-4011


Mark , Your Extended Office                    Marlins Baseball                                Marquis Aurbach Chtd
No. 128 SRP Koil Street South,                 501 Marlins Way,                                10001 Park Run Drive,
Jawahar Nagar, Chennai, 600 082, India         Miami, FL 33125-1121                            Las Vegas, NV 89145-8857
                                Case 24-21209-LMI       Doc 108        Filed 12/11/24         Page 8 of 46
Martin Scott                                   Massachusetts Department of Revenue                Meadows Collier Attorney At Law
19180 Skyridge Circle,                         100 Cambridge Street,                              901 Main Street, Suite 3700,
Boca Raton, FL 33498-6212                      Boston, MA 02204-0001                              Dallas, TX 75202-3742



Media Network Consultants LLC                  (p)MEDIANT COMMUNICATIONS INC                      MetLife Group Benefits
13245 Lower Harden Ave                         ATTN ATTN JOSEPH SIMONOWICH                        PO Box 804466,
Orlando, FL 32827-7221                         400 REGENCY FOREST DRIVE                           Kansas City, MO,
                                               SUITE 200                                          64180-4466
                                               CARY NC 27518-7703

Miami-Dade Office of the Tax Collector         Michigan Department of Treasury                    Michigan Department of Treasury
Tangible Personal Property                     City Tax Administration                            PO Box 30756,
200 NW 2nd Avenue, Miami, FL 33128             P.O. Box 30756                                     Lansing, MI 48909-8256
                                               Lansing, MI 48909-8256


Minesota Deptment of Revenue                   Missouri Department of Revenue                     Morris, Nichols, Arsht & Tunnell LLP
Collection Division                            Taxation Division                                  1201 N Market St, 16th FL, PO Box 1347,
PO Box 64651,                                  PO Box 3375,                                       Wilmington, DE, 19899-1347
Saint Paul, MN 55164-0651                      Jefferson City, MO 65102-3375


NASDAQ                                         NATPAY                                             NOW CFO NEWPORT BEACH
51 West 42nd Street, Floors 26, 27, 28,        3415 W Cypress St,                                 5251 S Green Street,
New York, NY 10036                             Tampa, FL 33607-5007                               Suite 350,
                                                                                                  Murray, UT, 84123


Nasdaq Corporate                               National Payment Corporation                       Navarro Hernandez P
Solutions, LLC                                 3415 W Cypress Street                              66 W Flagler St 6th FL,
PO Box 780700,                                 Tampa, FL 33607-5007                               Miami, FL 33130-1884
Philadelphia, PA,
19178-0700

New Benefits                                   New Jersey Department of Labor and Workforce       New Jersey Department of Labor and Workforce
Alexandra Gonzalez Zabala                      Delinquency Unit                                   Division of Employer Accounts
Judith Simpson                                 PO Box 932,                                        PO Box 059,
1839 Festival Court,                           Trenton, NJ 08625-0932                             Trenton, NJ 08646-0001
Joliet, IL 60435-3785

New Jersey Department of the Treasury          New Mexico Department of Workforce Solutions       New Mexico Taxation & Revenue
Division of Taxation                           PO Box 1928,                                       PO Box 25128,
PO Box 1009,                                   Albuquerque, NM 87103-1928                         Santa Fe, NM 87504-5128
Moorsetown, NJ 08057-0909


New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I       New York Department of Labor- Unemployment I
Enforcement Unit                               PO Box 15012                                       PO Box 4301
PO Box 4305                                    Albany, NY 12212-5012                              Brimingham, NY 13902-4301
Binghamton, NY 13902-4305


New York Department of Taxation and Finance    New York Employment Contributions and Taxes        New York State Department of Taxation & Fina
Civil Enforecement Division - Offset Uni       PO Box 4119                                        Bankruptcy Section
Albany NY 12227-0001                           Binghamton, NY 13902-4119                          P O Box 5300
                                                                                                  Albany, NY 12205-0300
                                   Case 24-21209-LMI    Doc 108          Filed 12/11/24   Page 9 of 46
Norman S Gerstein PA                           (p)OKTA INC                                    OSBORN MALEDO
5966 S. Dixie Highway, Suite 300,              100 FIRST STREET                               2929 N CENTRAL AVE, 21 FLOOR,
Miami, FL 33143-5177                           SUITE 600                                      PHOENIX, AZ 85012-2782
                                               SAN FRANCISCO CA 94105-3513


Office of the US Trustee                       Okin Pest Control                              Oklahoma Tax Commission
51 S.W. 1st Ave.                               2170 Piedmont Rd NE                            Oklahoma City, OK 73194-0001
Suite 1204                                     Atlanta, GA, 30324-4135
Miami, FL 33130-1614


Oppenheim Insurance Broker Inc.                Osborn Maledon                                 Osher Capital Partners, LLC
23742 Lyons Ave,                               2929 N Central Ave                             c/o LH Financial
PO Box 220957,                                 Phoenix, AZ 85012-2793                         510 Madison Ave
Newhall, CA 91322-0957                                                                        14th Floor
                                                                                              New York, NY 10022-5730

PETTIT KOHN                                    Payne & Fears LLP                              Payne & Fears LLP
11622 EL CAMINO REAL, SUITE 300,               4 Park Plaza                                   4 Park Plaza, Suite 1100,
SAN DIEGO, CA 92130-2051                       Irvine, CA 92614-8550                          Irvine, CA 92614-8550



Pennsylvania Department of Labor & Industry    Philadelphia Ins Co                            Pitney Bowes
Office of Unemployment Compensation Tax        PO BOX 70251,                                  PO Box 371874,
651 Boas Street, Room 915,                     PHILADELPHIA, PA, 19176-0251                   Pittsburgh, PA, 15250-7874
Harrisburg, PA 17121-0751


Plant Care                                     Premier Produce                                Prequin Limited
PO Box 50115,                                  2672 SW 36th St                                1st Floor, Verde, 10 Bressenden Place,
Lighthouse Point, FL 33074-0115                Dania Beach, FL 33312-5005                     London, United Kingdom,
                                                                                              SW1E 5DH, United Kingdom


PrismHR                                        Professional Window Tinters                    QB Animation Inc
PO BOX 844768,                                 7385 Bird Rd (40th St)                         320 Lighthouse Drive,
Boston, MA 02284-4759                          Miami, FL, 33155                               Palm Beach Gardens, FL 33410-4835



RB INTERNATIONAL                               RUNWAY 1 LLC                                   Restaurant Finance Monitor
SUPPLY CORP                                    250 Greenpoint Ave,                            2808 Anthony Lane South,
7265 NW 44TH ST                                Brooklyn, NY 11222-2493                        Minneapolis, MN 55418-3234
MIAMI, FL 33166-6418


Richard DeBeikes                               Rose, Snyder & Jacobs LLP                      Rose, Snyder & Jacobs LLP
23241 Ventura Blvd Ste 224C,                   15821 Ventura Blvd                             15821 Ventura Blvd, Suite 490,
Woodland Hills, CA 91364-1042                  Encino, CA 91436-4778                          Encino, CA 91436-4778



Roxborough Pomerance NYE & Adreani             Roxborough Pomerance NYE & Adreani             SICHENZIA ROSS FERENCE LLP
5820 Canoga Ave                                5820 Canoga Ave, Suite 250,                    1185 AVE OF THE AMERICAS,
Woodland Hills, CA 91367-6549                  Woodland Hills, CA 91367-6549                  31ST FLOOR,
                                                                                              NEW YORK, NY 10036-2612
                                Case 24-21209-LMI     Doc 108         Filed 12/11/24   Page 10 of 46
STERICYCLE                                   SUNZ INSURANCE                                Say Technologies LLC
28883 NETWORK PLACE,                         1301 6th Ave W,                               85 Willow Road
CHICAGO, IL, 60673-1288                      Bradenton, FL 34205-7410                      Menlo Park, CA 94025-3656



SearchGeeks                                  Securities and Exchange Commission            Securities and Exchange Commission
701 Palomar Airport Rd. #170,                100 F Street, NE,                             801 Brickell Avenue
Carlsbad CA 92011-1045                       Washington, DC 20549-2001                     Suite 1950
                                                                                           Miami, FL 33131-4901


Slavic 401K                                  Slavic Integrated Administration              SolutionCore Inc
1075 Broken Sound Pkwy NW, Suite 100,        1075 NW Brkn Snd Pkway, Ste 100,              9742 Hibiscus Drive,
Boca Raton, FL, 33487-3540                   Boca Raton, FL,                               Garden Grove, CA 92841-1717
                                             33487-3540


Specialty Marketing Consulting Inc           Sperling & Slater PC                          Sports1ternship, LLC
c/o Kimberly Peters,                         55 West Monroe Street, Suite 3200,            23 Rancho Circle,
PO Box 6700,                                 Chicago, IL 60603-5035                        Lake Forest, CA 92630-8324
Pine Mountain Club, CA 93222-6700


Sportslternship, LLC                         Staff Benefits                                Stifel Financial
23 Rancho Circle                             Management, Inc                               510 N. Broadway
Lake Forest, CA 92630-8324                   2307 FENTON PARKWAY #107-126,                 Saint Louis, MO 63102
                                             San Diego, CA 92108-4746


SullivanCurtisMonroe Ins Serv LLC            TEKWORKS                                      TENNESSE DEPT OF REVENUE
1920 Main St, Suite 600,                     13000 Gregg Street,                           500 DEADERICK ST, ANDREW JACKSON ST OFFI
Irvine, CA 92614-7226                        Poway, CA 92064-7151                          NASHVILLE, TN 37242-0001



TMF SERVICES HONDURAS                        TRUSAIC                                       Tennessee Department of Labor & Workforce De
Colonia Lomas del Guijarro Sur,              3530 WILSIRE BLVD, SUITE 1460,                Employment Security Division,
Domicilio Alquilado, Contiguoa Plaza Fic     LOS ANGELES, CA 90010-2334                    Employer Accounts Audit
5to Nivel. Tegucigalpa M.D.C. Honduras                                                     220 French Landing Drive,
                                                                                           Nashville, TN 37243-1002

Toppan Merrill LLC                           Traliant Operating LLC                        Trenan Law
PO BOX 74007295,                             PO Box 844090,                                PO Box 1102,
CHICAGO, IL 60674-7295                       Boston, MA 02284-4090                         Tampa, FL, 33601-1102



UNITED HEALTHCARE                            US FOODS                                      VERIFONE INC
PO BOX 111111,                               PO BOX 281838                                 c/o Colliers Int’l Lease Admin,
NEW TOWN, MO, 93195-9782                     BOCA RATON, FL, 30384-1838                    301 University Ave, Ste 100,
                                                                                           Sacramento, CA 95825-5537


VERITEXT, LLC                                VIA Design Studio                             Virginia Department of Taxation
PO BOX 71303,                                103 Westward Drive                            PO Box 1115.
CHICAGO, IL, 60694-1303                      Miami, FL 33166-5257                          Richmond, VA 23218-1115
                                  Case 24-21209-LMI           Doc 108          Filed 12/11/24      Page 11 of 46
Virginia Department of Taxation                      WASTE MANAGEMENT INC FL                              WHITE & CASE
PO Box 1777,                                         8801 NW 91ST STREET,                                 SE FINANICAL CTR STE 4900,
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WORKIVA                                              White & Case                                         Whitney White
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AMES, IA 50010-8665                                  4900 Miami, FL 33131



Whitney White                                        Widgets & Web LLC                                    eFax Corporate
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Princeton, NJ 08540-3215                             Golden Beach, FL, 33160                              PO BOX 51873,
                                                                                                          LOS ANGELES, CA, 90051-6173


nFusion Capital Finance LLC                          Daniel Gielchinsky                                   Eric Rubin
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                                                     Aventura, FL 33180-2803                              Ft. Lauderdale, FL 33315-2243


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Mark Absher                                          Robert Angueira                                      Scott Absher
c/o Shraiberg Page P.A.                              c/o Paul Steven Singerman                            c/o Shraiberg Page P.A.
2385 NW Executive Center Dr., #300                   Berger Singerman LLP                                 2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530                            1450 Brickell Avenue                                 Boca Raton, FL 33431-8530
                                                     Suite 1900
                                                     Miami, FL 33131-5319


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


United States of America Internal Revenue Se         Broadridge Financial Solutions                       (d)IRS - Department of the Treasury
c/o Raychelle A. Tasher                              1155 long Island Avanue                              Ogen, UT 84201
99 NE 4 St. # 300                                    Edgewood, NY 11717
Miami, FL 33132


Illinois Department of Revenue                       Mediant                                              (d)Mediant Communications Inc.
PO Box 19006,                                        Communications Inc.                                  400 Regency Forest Drive
Springfield, IL 62794                                PO BOX 29976,                                        Suite 200
                                                     NEW YORK, NY, 10087-9976                             Cary, NC 27518


OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Sunz Insurance Solutions, LLC                     (u)Miami                                             (d)A & A Ornamental, Inc
                                                                                                          18731 SW 87th Ave,
                                                                                                          Cutler Bay, FL 33157-7224



(d)ALLIED SPORTS LLC                                 (d)CINTAS                                            (d)CK Administrative Services LLC
PO BOX 845785,                                       PO BOX 631025,                                       777 S Figueroa Street, Suite 4100,
BOSTON, MA, 02284-5785                               CINCINNATI, OH, 45263-1025                           Los Angeles, CA 90017-5841



(d)CT Corporation                                    (d)DGA SECURITY                                      (d)FL POWER HOUSE
PO Box 4349,                                         429 WST 53RD STREET,                                 2310 NW 102ND PLACE,
Carol Stream, IL,                                    NEW YORK, NY 10019-5791                              DORAL, FL 33172-2517
60197-4349


(d)ICR LLC                                           (d)KARLINSKY LLC                                     (d)Kenneth Weaver
761 Main Ave,                                        103 Mountain Road,                                   901 Riverside Drive,
Norwalk, CT 06851-1080                               Cornwall-On-Hudson, NY 12520-1802                    Old Hickory, TN 37138-3150



(d)MILNER INC                                        (d)MILNER INC BRICKELL                               (d)MILNER USAGE
PO BOX 105743,                                       PO BOX 41602                                         PO BOX 923197
ATANTA, GA, 30348-5743                               PHILADELPHIA, PA, 19101-1602                         NORCROSS, GA, 30010-3197



(d)Media Network Consultants LLC                     (d)Premier Produce                                   (d)Professional Window Tinters
13245 Lower Harden Ave,                              2672 SW 36th St,                                     7385 Bird Rd (40th St),
Orlando, FL 32827-7221                               Dania Beach, FL 33312-5005                           Miami, FL, 33155



(d)RB INTERNATIONAL SUPPLY CORP                      (d)Securities and Exchange Commission                (d)Sunz Insurance
7265 NW 44TH ST,                                     100 F. Street NE                                     1301 6th Ave W
MIAMI, FL 33166-6418                                 Washington, DC 20549-2001                            Bradenton, FL 34205-7410



(d)US FOODS                                          (d)VIA Design Studio                                 (d)WORKIVA
PO BOX 281838,                                       103 Westward Drive,                                  2900 University Blvd
BOCA RATON, FL, 30384-1838                           Miami, FL 33166-5257                                 Ames, IA 50010-8665



(d)White & Case                                      (d)Whitney White                                     (u)Richelle Kalnit
SE Financial Ctr Ste 4900                            100 Albert Way 08540                                 Hillco IP Services LLC
Miami, FL 33131
                            Case 24-21209-LMI   Doc 108   Filed 12/11/24   Page 13 of 46
End of Label Matrix
Mailable recipients   257
Bypassed recipients    27
Total                 284
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                EXHIBIT A




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                   ASSET PURCHASE AGREEMENT



                            by and between



SHIFTPIXY, INC., SHIFTPIXY STAFFING, INC. AND RETHINK HUMAN CAPITAL
                           MANGEMENT, INC.



                                 and



                     G3 BUSINESS SERVICES LLC


                              dated as of



                           December 10, 2024
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                                   ASSET PURCHASE AGREEMENT

                 THIS ASSET PURCHASE AGREEMENT                         Agreement
as of December 8, 2024, by and between G3 Business Services LLC, a New Jersey limited liability company
  Buyer         Shiftpixy, Inc., Shiftpixy Staffing, Inc. and ReThink Human Capital Management, Inc. (each
   Seller                      Sellers
are used shall have the respective meanings assigned to such terms in Section 12.13.

         WHEREAS, on October 28, 2024           Petition Date , each Seller filed a voluntary petition for
relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101, et seq         Bankruptcy
Code                                                Southern District of Florida      Bankruptcy Court
                                                              Bankruptcy Cases

       WHEREAS, the Sellers are debtors-in-possession and no trustee has been appointed in the
Bankruptcy Cases.

        WHEREAS, Sellers desire to sell, transfer, convey, assign and deliver to Buyer, in accordance
with Sections 363 and 365 and the other applicable provisions of the Bankruptcy Code, all of the
Transferred Assets, free and clear of all Liens, together with the Assumed Liabilities of Sellers, upon the
terms and subject to the conditions set forth in the Agreement (collectively with the transactions
                                                                            Transaction

      WHEREAS, Buyer wishes to purchase and take delivery of the Transferred Assets and assume the
Assumed Liabilities upon such terms and subject to such conditions;

       WHEREAS, the Transferred Assets will be sold pursuant to the Sale Order under Sections 363
and 365 of the Bankruptcy Code;

       WHEREAS, certain of the obligations of Sellers under this Agreement are conditioned upon the
approval of the Bankruptcy Court in accordance with Article II; and

         WHEREAS, the board of directors (or similar governing body) of each Seller has determined that
it is advisable and in the best interests of such Seller and its constituencies to enter into this Agreement and
to consummate the Transactions provided for herein, subject to entry of the Sale Order, and each has
approved the same.

        NOW, THEREFORE, in consideration of the foregoing and the mutual covenants,
representations, warranties and agreements set forth in this Agreement, and intending to be legally bound
hereby, the parties hereto agree as follows:

                                             ARTICLE I
                                         PURCHASE AND SALE

        1.1      Purchase and Sale of the Transferred Assets. Pursuant to sections 363 and 365 of the
Bankruptcy Code, on the terms and subject to the conditions set forth herein and in the Sale Order, at the
Closing, Sellers shall sell, transfer, assign, convey, and deliver to Buyer, and Buyer shall purchase, acquire,

Assets, free and clear of all Liens other than Permitted Liens Transferred Assets                   assets
that are set forth on Schedule 1.1 (including sub-Schedules A - H), including all goodwill associated with
the Transferred Assets, but excluding, the Excluded Assets.



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        1.2      Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in no event
shall Sellers be deemed to sell, transfer, assign, convey, or deliver, and Sellers shall retain all right, title,
and interest to, in and under all assets, properties, interests, and rights of each such Seller, that are not
Transferred Assets                     Excluded Assets .

         1.3     Assumption of Certain Liabilities. On the terms and subject to the conditions set forth
herein and in the Sale Order, effective as of the Closing, in addition to the payment of the Cash Payment in
accordance with Section 12.4, Buyer shall irrevocably assume from Sellers (and, from and after the Closing,
pay, perform, discharge, or otherwise satisfy in accordance with their respective terms), and Sellers shall
irrevocably convey, transfer, and assign to Buyer, only the following Liabilities, without duplication and
only to the extent not paid, performed, discharged, or otherwise satisfied prior to the Closing (collectively,
     Assumed Liabilities

                 (a)      all Liabilities and obligations of Sellers arising out of or relating to the Assigned
Contracts;

                (b)       any Liabilities and obligations related to the Transferred Assets for the post-
Closing period; and

                 (c)      payment of all Cure Costs.

        1.4     Excluded Liabilities. Buyer shall not assume, be obligated to pay, perform, or otherwise
discharge any Liabilities that are not Assumed Liabilities    Excluded Liabilities

        1.5      Assumption/Rejection of Certain Contracts.

                  (a)     Assumption and Assignment of Executory Contracts. Sellers shall provide timely
and proper written notice to all parties to any executory Contracts or unexpired leases to which any Seller
is a party that are Assigned Contracts in accordance with the Bidding Procedures Order and take all other
actions reasonably necessary to cause such Contracts to be assumed by Sellers and assigned to Buyer
pursuant to section 365 of the Bankruptcy Code. The Sale Order shall provide that, as of and conditioned
on the occurrence of the Closing, Sellers shall assign to Buyer the Assigned Contracts, which assumption
shall be effectuated in accordance with the Bidding Procedures Order. The notice of assumption to be filed

good faith estimate of the amounts necessary to cure any defaults under each of the Assigned Contracts as

Court Cure Costs . At the Closing, Sellers shall, pursuant to the Sale Order, Bidding Procedures Order,
and the Assignment and Assumption Agreement, assume and assign to Buyer (the consideration for which
is included in the Purchase Price), all Assigned Contracts pursuant to sections 363 and 365 of the
Bankruptcy Code. At the Closing, Buyer shall (i) pay all Cure Costs required to be paid pursuant to section
365 of the Bankruptcy Code in connection with the assumption and assignment of the Assigned Contracts
and (ii) assume, and thereafter in due course and in accordance with its respective terms pay, fully satisfy,
discharge and perform all of the obligations under each Assigned Contract pursuant to section 365 of the
Bankruptcy Code.

                 (b)     Non-Assignment. Buyer acknowledges that the Sale Order will authorize the
assumption and assignment of the Assumed Contracts without the requirement of any consent by the parties
thereto. To the extent any Assumed Contract is not assumable and assignable by Sellers to Buyer under
Section 365 of the Bankruptcy Code without the consent of the applicable counterparty thereto, Sellers shall
use their reasonable best efforts prior to Closing to obtain all such required consents of third parties that are
necessar                                                                            Required Consents

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such Required Consents shall be in writing, in form and substance reasonably acceptable to Buyer, and
executed counterparts thereof shall be delivered to Buyer on or before five (5) days prior to the Closing
Date. If a Required Consent is not obtained, or if an attempted assignment thereof would be ineffective or
would affect the rights thereunder so that Buyer would not receive all such rights, and Buyer elects to waive
such Required Consent as a condition to Closing or otherwise proceeds with the Closing, Sellers shall
continue to use their reasonable best efforts                            to obtain such Required Consents
following the Closing and, until obtained, use their reasonable best efforts after Closing to provide to Buyer
the benefits under any such Assumed Contract or any claim or right, including, without limitation,
enforcement for the benefit of Buyer of any and all rights of Sellers against a third party thereto arising out
of the default or cancellation by such third party or otherwise.

                                   ARTICLE II
                  BANKRUPTCY COURT APPROVAL AND OTHER MATTERS

         2.1      Sale Process. From the date hereof (and any prior time) and until the transactions
contemplated hereby are consummated, Sellers are permitted to and to cause its representatives and
Affiliates to initiate contact with, solicit or encourage submission of any inquiries, proposals or offers by
any Person (in addition to Buyer and its Affiliates and representatives) in connection with submitting any
Qualified Bid in accordance with the Bidding Procedures Order. In addition, Sellers shall have the authority
to respond to any inquiries or offers with respect to a Qualified Bid and perform any and all other acts
related thereto to the extent any such act is not in violation of the Bidding Procedures Order or the
Bankruptcy Code. This Agreement is subject to approval by the Bankruptcy Court and the consideration

sole and exclusive discretion in accordance with the Bidding Procedures Order.

        2.2      Bankruptcy Court Matters.

                 (a)     Sale Motion. On November 18, 2024, Sellers filed the Sale Motion. Sellers shall
not alter, modify, or withdraw the Sale Motion without the prior consent of Buyer in its sole and absolute
discretion.

              (b)     This Agreement. On or before December 12, 2024, Sellers shall file this
Agreement with the Bankruptcy Court and provide all required notice of this Agreement.

        2.3      Entry of Order Approving Sale.

                 (a)     If this Agreement and the sale of the Transferred Assets to Buyer on the terms and

Procedures Order, the Sale Order shall be in accordance with the terms of this Agreement, and shall, among
other things:

                         (i)    approve this Agreement (as may be amended following an Auction, if one
        is held and Buyer presents the Successful Bid) and the execution, delivery, and performance by
        Sellers of this Agreement and the other instruments and agreements contemplated hereby;

                         (ii)    approve and direct the sale and transfer of the Transferred Assets to Buyer
        and approve and direct the assumption and assignment of the Assumed Contracts to Buyer free and
        clear of all Liens, Claims or interests, based on appropriate findings and rulings pursuant to, inter
        alia, Sections 363(b), 363(f), 363(m) and 365 of the Bankruptcy Code, including but not limited to
        Sections 365(h), 365(i), 365(l) and 365(n) of the Bankruptcy Code and the release of Buyer of any
        rights otherwise associated with, and whi

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                       (iii)   include a finding that Buyer is a good faith purchaser pursuant to Section
        363(m) of the Bankruptcy Code;

                         (iv)     include a finding that Buyer is not deemed to be a successor to Sellers, to


                         (v)      include a finding that the Consideration is a fair and reasonable price for


                         (vi)     include a finding that Buyer will not have any derivative, successor,
        transferee or vicarious Liability for Liabilities of any Seller or any Affiliates of any Seller by reason
        of any theory of Law or equity (whether under federal or state Law or otherwise) as a result of the
        transactions contemplated by this Agreement, including but not limited to any Liabilities on
        account of Transfer Taxes, except as expressly assumed by Buyer in this Agreement;

                         (vii)    include a finding that, to the maximum extent permitted by the Bankruptcy
        Code, the so-
        not apply;

                         (viii)   include a finding confirming the adequacy of notice to all creditors and


                          (ix)    include provisions for the retention of jurisdiction in the Bankruptcy Court
        over matters relating to the transactions contemplated in this Agreement including matters relating
        to title to the Transferred Assets and claims against the Transferred Assets which arose or were
        based on facts or occurrences prior to the Closing. Furthermore, the Sale Order shall not have been
        reversed, stayed, modified or amended.

                (b)     Sellers shall provide notice of the Sale Hearing and any other matter before the
Bankruptcy Court relating to this Agreement or the Transaction Documents, in each case as required by the
Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, any applicable local rules of bankruptcy
procedure or as otherwise ordered by the Bankruptcy Court.

                                      ARTICLE III
                        INSTRUMENTS OF TRANSFER AND ASSUMPTION

          At the Closing, Sellers will deliver to Buyer (a) one or more bills of sale as may be reasonably
required by Buyer, (b) one or more assignment and assumption agreements as may be reasonably required
by Buyer, (c) one or more trademark assignment agreements as may be reasonably required by Buyer, and
(d) all such other good and sufficient instruments of sale, transfer and conveyance consistent with the terms
and provisions of this Agreement as shall be reasonably necessary to vest in Buyer (or its designee(s)) all
                                       to and under the Transferred Assets.

                                          ARTICLE IV
                                  CONSIDERATION; ALLOCATION

        4.1     Consideration; Payment.

                (a)     The aggregate                                          Consideration
Buyer for the purchase of the Transferred Assets shall be:



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                         (i)     the assumption of Assumed Liabilities,

                         (ii)    a cash payment equal to $1,850,000.00          Cash Payment , and

                         (iii)   the payment of Cure Costs.

                  (b)      At the Closing, Buyer shall deliver, or cause to be delivered to Sellers, the Cash
Payment less                       Closing Date Payment
required to be made pursuant to any other provision hereof shall be made in cash by wire transfer of
immediately available funds to such bank account as shall be designated in writing by the applicable Party
to (or for the benefit of) whom such payment is to be made at least two (2) Business Days prior to the date
such payment is to be made.

        4.2     Deposit.

                (a)     Buyer has, on or prior to the date hereof, made an earnest money deposit with Hilco
IP Services, LLC d/b/a Hilco Streambank Hilco Streambank in an amount equal to $185,000.00 (the
 Deposit                                                                                           Deposit
Account
process of any creditor of any of Sellers or Buyer and shall be applied against payment of the Purchase
Price on the Closing Date.

                  (b)     If this Agreement has been terminated by Sellers pursuant to Section 11.1(e) or
11.1(f) (or by Buyer pursuant to Section 11.1(b), 11.1(c), or 11.1(d), in each case in circumstances where
Sellers would be entitled to terminate this Agreement pursuant to Section 11.1(e) or 11.1(f)), then Sellers
shall retain the Deposit together with all received investment income, if any.

                 (c)     If this Agreement has been terminated by any Party, other than as contemplated by
Section 4.2(b), then the Deposit, together with all received investment income, if any, shall be returned to
Buyer within five (5) Business Days after such termination.

                  (d)      The Parties agree that              right to retain the Deposit, as set forth in
Section 4.2(b), is not a penalty, but rather is liquidated damages in a reasonable amount that will compensate
Sellers for their respective efforts and resources expended and the opportunities foregone while negotiating
this Agreement and in reliance on this Agreement and on the expectation of the consummation of the
transactions contemplated hereby, which amount would otherwise be impossible to calculate with precision.

                (e)      If the Closing occurs, the Deposit shall be transferred to Sellers.

       4.3    Withholding. Buyer shall not be entitled to deduct and withhold any Taxes from any
amounts otherwise payable pursuant to this Agreement.

         4.4       Allocation. Within a reasonable time following the Closing, Buyer shall deliver to Sellers
a statement allocating the Consideration among the Transferred Assets in accordance with Section 1060 of
                 Allocation Statement
all federal, state and local Tax Returns in accordance with the Allocation Statement.




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                                                ARTICLE V
                                                 CLOSING

         Subject to the terms and conditions hereof, the closing of the transactions contemplated by this
                  Closing
or other electronic means), no later than the second Business Day following the date on which all conditions
to Closing set forth in Article IX and Article X have been satisfied or waived (the date on which the Closing
                        Closing Date
time on the Closing Date.

                                    ARTICLE VI
                     REPRESENTATIONS AND WARRANTIES OF SELLERS

         Sellers represent and warrant to Buyer that the following statements contained in this Article VI
are true and correct as of the date hereof and as of the Closing Date:

         6.1     Organization, Qualification and Authority. Sellers are entities duly organized, validly
existing and in good standing under the Laws of their jurisdiction of formation and under the Laws of each
jurisdiction where qualification as a foreign entity is required, except where the lack of such qualification
would not, individually or in the aggregate, reasonably be expected to be material. Sellers have all necessary
power and authority to own and operate their properties and to carry on their business as is now being
conducted in the Bankruptcy Cases. Sellers have the power and authority to execute and deliver and perform
their obligations under this Agreement and the other Transaction Documents, and to undertake the
transactions contemplated hereby and thereby.

        6.2      Authorization, Execution and Delivery of Agreement and Transaction Documents. The
execution, delivery, and performance of this Agreement and the other Transaction Documents by Sellers
and the transfer or assignment of the Transferred Assets to Buyer have been duly and validly authorized
and approved by all necessary corporate or other entity action. This Agreement and each of the Transaction

extent it is a party thereto) in accordance with their respective terms, subject to Laws of general application
relating to the rights of creditors generally and the availability of equitable remedies. Subject to order of
the Bankruptcy Court and pursuant thereto, Sellers will have full power, right and authority to sell and
convey to Buyer the Transferred Assets.

         6.3      Title to Assets. Sellers have good and marketable title to, or a valid leasehold interest in,
all of the properties and assets included in the Transferred Assets. Sellers have the power and right to use,
transfer, sell, convey, assign and deliver, and shall at Closing transfer, sell convey, assign and deliver to
Buyer, each of the Transferred Assets owned by them, free and clear of all Liens. The delivery to Buyer at
the Closing of the Transaction Documents, together with the Sale Order, will vest in Buyer good and
marketable title to the Transferred Assets, free and clear of all Liens. The delivery to Buyer at the Closing
of the Transaction Documents will vest in Buyer a valid, binding and enforceable leasehold interest in, or
other valid, binding and enforceable right to possess and use, the Transferred Assets that are not owned by
Sellers, in accordance with the Contracts applicable to such Transferred Assets, copies of which Contracts
have been provided to Buyer.

         6.4     Legal Proceedings. Except as set forth on Schedule 6.4, there is no Legal Proceeding
pending or, to the Knowledge of Sellers, threatened in writing against or affecting Sellers or the Transferred
Assets (or to the Knowledge of Sellers, pending or threatened, against any of the officers, directors or
employees of Sellers with respect to their business activities related to or affecting the Transferred Assets)
(a) that challenges or that is reasonably expected to have the effect of preventing, making illegal, delaying

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or otherwise interfering with any of the transactions contemplated by this Agreement or (b) that is related
to the Transferred Assets or Assumed Liabilities.

        6.5      Brokers. Except for Hilco Streambank, for whom Sellers shall be solely responsible for
any fees, commissions or other amounts owing or that may become due and owing, Sellers have not engaged
or incurred any Liability to any agent, broker or other Person acting pursuant to the express or implied
authority of Sellers which is or may be entitled to a commission or broker or finder s fee in connection with
the transactions contemplated by this Agreement or otherwise with respect to the sale of the Transferred
Assets.

                                    ARTICLE VII
                      REPRESENTATIONS AND WARRANTIES OF BUYER

                Buyer represents and warrants to Sellers as follows:

         7.1       Organization, Qualification and Authority. Buyer is a limited liability company duly
organized, validly existing and in good standing under the Laws of the State of New Jersey. Buyer has all
necessary limited liability company power and authority to (a) own and operate its properties, (b) carry on
its business as it is now being conducted, and (c) perform its obligations under this Agreement and the other
Transaction Documents, and to undertake and carry out the transactions contemplated hereby and thereby.

        7.2     Authorization, Execution and Delivery of Agreement and Transaction Documents. All
necessary consents and approvals have been obtained by Buyer for the execution and delivery of this
Agreement and the Transaction Documents. The execution, delivery and performance of this Agreement
and the other Transaction Documents in accordance with their terms by Buyer have been duly and validly
authorized and approved by all necessary limited liability company action. Buyer has full limited liability
company power, right and authority to acquire the Transferred Assets. This Agreement is, and each of the
other Transaction Documents when so executed and delivered will be, a valid and binding obligation of
Buyer, enforceable against it in accordance with its terms, except to the extent such enforceability may be
limited by bankruptcy, insolvency or other similar Laws affecting creditors.

        7.3     Brokers. Buyer has not engaged any agent, broker or other Person acting pursuant to the
express or implied
connection with the transactions contemplated by this Agreement or otherwise with respect to the sale of
the Transferred Assets.

         7.4     No Violation of Laws or Agreements. The performance by Buyer of its obligations
contemplated hereunder and the consummation by Buyer of the transactions contemplated herein will not
violate (a) any Laws or any order, writ, injunction, decree, judgment, award, consent, settlement,
stipulation, regulation or rule of any court or Governmental Entity to which Buyer is subject; or (b)
contravene, conflict with or result in a violation of any provision of any organizational documents of Buyer;
except
consummate the transactions contemplated hereby.

                                       ARTICLE VIII
                                 COVENANTS AND AGREEMENTS

        8.1     Conduct of Business. Except as otherwise expressly contemplated by this Agreement or
with the prior written consent of Buyer, from the date hereof until the Closing Date, Sellers shall use
reasonable best efforts to preserve intact the Transferred Assets. Without limiting the generality of the
foregoing (but subject to the express limitation set forth in the immediately preceding sentence), Sellers

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from doing any of the following:

                 (a)     dispose of, transfer, assign or license, any Transferred Asset;

                (b)     except as otherwise provided or required in this Agreement, reject, terminate, enter
into or amend any other material Contract with respect to the businesses of any Seller that would affect the
Transferred Assets or the Assumed Liabilities;

                 (c)     sell, transfer, license, encumber, or otherwise dispose of any Sellers-Owned
Intellectual Property;

                  (d)      enter into any agreement or commitment that would subject Sellers to any non-
competition, non-
that limits or restricts the use of the Sellers-Owned Intellectual Property or any other Intellectual Property
in which Sellers have any interest or right; or

                (e)      authorize any of, or commit, agree in writing or otherwise, to take any of, the
foregoing actions.

        8.2      Notification of Certain Matters. Sellers shall give written notice to Buyer of: (a) a breach
of any representation or warranty or covenant of Sellers contained in this Agreement, and (b) the
occurrence, or failure to occur, of any event that would be reasonably likely to cause any representation or
warranty of Sellers contained in this Agreement to be untrue or inaccurate at any time prior to the Closing
determined as if such representation or warranty were made at such time.

        8.3     Access to Information. From the date hereof and through the date on which the Closing
occurs or this Agreement is terminated, Sellers shall cooperate with Buyer and shall give Buyer and its

notice and during normal business hours, access to the properties, Contracts, Leases, equipment, employees,
affairs, books, documents, records, data and other information of Sellers to the extent relating to the
Transferred Assets, the Assumed Liabilities and any other aspect of this Agreement, and shall cause their
respective officers, employees, agents and representatives to furnish to Buyer all available documents,
records and other information (and copies thereof), to the extent relating the Transferred Assets, the
Assumed Liabilities, and any other aspect of this Agreement, in each case, as Buyer may reasonably request
(and Seller shall use reasonable best efforts to obtain any and all consents necessary or advisable, including
with respect to personnel files, to permit the sharing of such information under applicable Laws). From and
                                                                         ither the Chief Restructuring Officer
or any duly appointed Chapter 7 Trustee reasonable access at the expense of the bankruptcy estate to
information necessary to analyze, defend, prosecute any litigation claim or object to any claim made against
the bankruptcy estate of Seller.

         8.4     Public Announcement
to make such filings and disclosures as are necessary in connection with the Bankruptcy Cases including,
without limitation, marketing the Transferred Assets in accordance with the Bidding Procedures Order, no
party hereto shall make or issue, or cause to be made or issued, any public announcement or written
statement (including any written communication or material communications to current employees of any
Seller) concerning this Agreement or the transactions contemplated hereby without the prior written consent
of the other party hereto (which will not be unreasonably withheld or delayed), unless counsel to such party
advises that such announcement or statement is required by Law (in which case the parties hereto shall
make reasonable efforts to consult with each other prior to such required announcement). Notwithstanding

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anything herein to the contrary, prior to making any filings or disclosures in connection with the Bankruptcy
Cases, Sellers shall provide Buyer with a reasonable opportunity to review the text of any such filings or
disclosures and incorporate all reasonable comments received from Buyer or its representatives, including
any redactions or requests for confidential treatment.

        8.5      Taxes.

                 (a)      Sellers shall be responsible for all Taxes arising out of the ownership of the
Transferred Assets or the Assumed Liabilities attributable to taxable periods, or portions thereof, ending on
or before the Closing, including Transfer Taxes, and, for the avoidance of doubt, all such Taxes shall be
Excluded Liabilities. Without limiting the foregoing, all Transfer Taxes, to the extent attributable to periods
prior to the Closing, shall be paid or otherwise discharged by Sellers.

                (b)      Sellers and Buyer shall (i) provide the other with such assistance as may reasonably
be requested by either of them in connection with the preparation of any Tax Return, any audit or other
examination by any taxing authority or any judicial or administrative proceeding with respect to Taxes, (ii)
retain and provide the other with any records or other information which may be relevant to such return,
audit, examination or proceeding, and (iii) provide the other with any final determination of any such audit
or examination proceeding or determination that affects any amount required to be shown on any Tax
Return of the other for any period (which shall be maintained confidentially).

         8.6      Further Assurances; Post-Closing Access. Subject to the other provisions hereof, Sellers
shall use their reasonable best efforts to perform their obligations hereunder and to take, or cause to be
taken, and do, or cause to be done, all things necessary, proper or advisable under applicable Law to cause
the transactions contemplated herein to be effected as soon as practicable, but in any event on or prior to
the Outside Date, in accordance with the terms hereof and shall cooperate in a commercially reasonable
manner with each other party hereto and their representatives in connection with any action required to be
taken as a part of their obligations hereunder. From time to time after the Closing, each of Buyer and Sellers,
at the request of the other, will execute and deliver such other instruments of conveyance and transfer or
other instruments or documents, and take or arrange for such other actions, as may reasonably be required
                                                                      provided that, notwithstanding anything
to the contrary in this Section 8.6 or any other provision of this Agreement, neither Buyer nor Sellers shall
be required to execute any document or take any action that would (a) increase the Liability or obligation
of the party of whom such document or action is requested beyond that such party would have pursuant to
the other provisions of this Agreement, (b) require or cause the party of whom such action or document is
requested to initiate, join in or otherwise become a party to any Legal Proceeding, or (c) cause such party
to incur any material cost or expense that is not already imposed upon it by another provision of this
Agreement; provided, further that Sellers obligations terminate upon the effective date of a confirmed plan
of liquidation, or conversion or dismissal of the Bankruptcy Cases.

         8.7     Confidentiality. Buyer acknowledges that it has had access to and the use of confidential
materials and information and trade secrets concerning the Transferred Assets, and that the protection of
such confidential materials and information and trade secrets is necessary to protect and preserve the value
of the Transferred Assets after the Closing. Buyer shall not use, for itself or others, or disclose, divulge or
convey to others, except as necessary to fulfill its obligations under this Agreement or            Transaction
Documents, any proprietary or confidential information or data related to the Transferred Assets.
Confidential information and data shall include proprietary or confidential matters not published or
generally known in the relevant trade or industry such as and including information about prices, costs,
purchasing, profits, markets, sales or customer lists, future developments or future marketing, or
merchandising but shall not include any information or data (a) that is generally available to the public
(other than as a result of the disclosure directly or indirectly by Buyer or its representatives or agents), (b)

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that is made available to Buyer by a third party on a non-confidential basis provided that such third party is
not bound by a confidentiality agreement, or other obligation of secrecy to, with respect to such information,
or (c) that is independently developed after Closing by Buyer without reference to any confidential
information protected hereunder.

         8.8   No Survival of Representations and Warranties. The representations and warranties of
Sellers and Buyer contained in this Agreement shall terminate as of the Closing.

         8.9     Change of Name. Following the Closing, and, in any event, within fifteen (15) days, each
Seller shall, and shall cause their Subsidiaries to, discontinue the use of their current name (and any other

subsequently change any of their names to or otherwise use or employ any name which includes the words
 ShiftPixy
shall cause the name of Sellers in the caption of the Bankruptcy Cases to be changed to the new names of
each Seller.

                                                ARTICLE IX


        The obligation of Buyer under this Agreement with respect to the purchase and sale of the
Transferred Assets shall be subject to the fulfillment on or prior to the Closing of each of the following
conditions, any of which may be waived in writing by Buyer:

         9.1     Accuracy of Representations and Warranties; Performance of this Agreement. Each of the
representations and warranties made by Sellers shall be true and correct in all material respects on and as
of the date hereof (unless such representation or warranty is given as of a particular date in which case such
representation or warranty will be considered only as of such particular date) and at and as of the Closing
Date. Sellers shall have complied with and performed in all material respects all of the agreements and
covenants required by this Agreement and each other Transaction Document to be performed or complied
with by them on or prior to the Closing.

        9.2                            . Sellers shall have delivered to Buyer a certificate, duly executed by

conditions set forth in Section 9.1.

         9.3     Transfer, Assignment and Assumption Documents. Sellers shall have delivered to Buyer
the Bill of Sale(s), Assignment and Assumption Agreement(s), Trademark Assignment Agreement(s) and
other transfer documents required to be delivered pursuant to Article III, each duly executed by Sellers.

       9.4       Data Room. Sellers shall have provided Buyer access to the data room maintained by Hilco
Streambank                                                                            Data Room

         9.5   Bankruptcy Matters. The Sale Order shall have been entered by the Bankruptcy Court on
or before December 18, 2024 (or such later time as is agreed in writing by Buyer in its sole and absolute
discretion).

        9.6     Winning Bidder. Buyer shall have been deemed the Successful Bidder (as such term is
defined in the Bidding Procedures Order) for the Transferred Assets at any Auction.




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        9.7     Required Consents. Buyer shall have received or waived all Required Consents, in form
and substance reasonably satisfactory to Buyer, which may be provided by either affirmative consent or
operation of law.

        9.8      Release of Deposit. Sellers shall have delivered to Buyer a joint written instruction, duly
executed by Seller, instructing Hilco Streambank to release to Sellers by wire transfer of immediately
available funds, the Deposit.

                                                 ARTICLE X


        The obligation of Sellers under this Agreement with respect to the purchase and sale of the
Transferred Assets shall be subject to the fulfillment on or prior to the Closing of each of the following
conditions, any of which may be waived in writing by Sellers:

        10.1    Accuracy of Representations and Warranties; Performance of this Agreement. Each of the
representations and warranties made by Buyer in this Agreement shall be true and correct in all material
respects on and as of the date hereof (unless such representation or warranty is given as of a particular date
in which case such representation or warranty will be considered only as of such particular date) and at and
as of the Closing Date. Buyer shall have complied with and performed in all material respects all of the
agreements and covenants required by this Agreement and each other Transaction Document to be
performed or complied with by it on or prior to the Closing.

        10.2                            . Buyer shall have delivered to Sellers a certificate, duly executed by

conditions set forth in Section 10.1.

        10.3   Transfer, Assignment and Assumption Documents. Buyer shall have delivered to Sellers
the documents required to be delivered by Buyer, if any, pursuant to Article III, each duly executed by
Buyer.

        10.4    Bankruptcy Matters. The Sale Order shall have been entered by the Bankruptcy Court.

        10.5    Winning Bidder. Buyer shall have been deemed the Successful Bidder (as such term is
defined in the Bidding Procedures Order) for the Transferred Assets at any Auction.

        10.6     Release of Deposit. Buyer shall have delivered to Sellers a joint written instruction, duly
executed by Buyer, instructing Hilco Streambank to release to Sellers by wire transfer of immediately
available funds, the Deposit.

                                                ARTICLE XI
                                               TERMINATION

        11.1     Breaches and Defaults; Opportunity to Cure. Prior to the exercise by a party of any
                                                                       Non-Breaching Party
             Breaching Party                                          -Breaching Party shall provide the
Breaching Party with written notice specifying in reasonable detail the nature of such breach, whereupon,
if such breach is curable the Breaching Party, shall have ten (10) calendar days from the receipt of such
notice to cure such breach to the reasonable satisfaction of the Non-Breaching Party. If the breach is not
cured within such time period, then the Non-Breaching Party
Agreement if the breach is such that the condition set forth in Section 9.1 or Section 10.1, as applicable,


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shall not be satisfied (as provided in Section 11.2 provided, however, that the Non-Breaching Party shall
not be entitled to terminate this Agreement if it is in material breach of this Agreement.

       11.2   Termination. This Agreement may be terminated and the transactions contemplated herein
may be abandoned at any time prior to the Closing:

                 (a)      by mutual written consent of Sellers and Buyer;

                 (b)      by Buyer, if any of the deadlines set forth in Section 2.2 are not met or satisfied;

                (c)      unless Buyer is the Next-Highest Bidder, if the Bankruptcy Court enters an order
approving the sale of the Transferred Assets to the Successful Bidder;

                  (d)      subject to the right to cure set forth in Section 11.1, by Buyer if Sellers are in
breach of any covenant, representation, undertaking or warranty such that the condition set forth in Section
9.1 shall not be satisfied, and Buyer has not waived such condition in writing on or before the Closing Date;

                  (e)     subject to the right to cure set forth in Section 11.1, by Sellers if Buyer is in breach
of any covenant, representation, undertaking or warranty such that the condition set forth in Section 10.1
shall not be satisfied, and Sellers have not waived such condition in writing on or before the Closing Date;
or

                 (f)      by Sellers or Buyer if the Closing shall not have occurred on or before the Outside
Date, unless the failure to have the Closing on or before the Outside Date shall be due to the failure of the
party seeking to terminate this Agreement to perform in any material respect its obligations under this
Agreement required to be performed by it at or prior to the Closing.

                                               ARTICLE XII
                                             MISCELLANEOUS

        12.1     Notices. All notices and other communications required or permitted to be given hereunder
shall be in writing and shall be deemed to have been duly given if delivered personally or sent by a
nationally recognized overnight courier or registered or certified U.S. mail, return receipt requested, postage
prepaid or electronic mail (with confirmation of receipt), to the following addresses:



        If to Sellers:

        Phang Feldman
        2 South Biscayne Boulevard, Suite 1600
        Miami, FL 33131
        Attn: Jonathan Feldman
        Email: feldman@katiephang.com


        with a copy to (which shall not constitute notice):

        DGIM Law
        2875 NE 191st Street, Suite 705
        Aventura, FL 33180


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        Attn: Isaac Marcushamer
        Email: isaac@dgimlaw.com



        If to Buyer:

        G3 Business Services LLC
        16 Mt. Bethel Rd. #112
        Warren, NJ 07059
        Attn: J. Ram Ajjarapu
        Email: Ram@IntlCap.net

        with a copy to (which shall not constitute notice):

        Kaizen Law PC
        5865 Ridgeway Center Parkway, Suite 300
        Memphis, TN 38120
        Attn: Chris Todd
        Chris@KaizenLawyer.com


Notices delivered personally shall be effective upon delivery against receipt. Notices transmitted by
electronic mail shall be effective when received, provided that the burden of proving when notice is
transmitted by electronic mail shall be the responsibility of the party providing such notice. Notices
delivered by overnight courier shall be effective when received. Notices delivered by registered or certified
U.S. mail shall be effective on the date set forth on the receipt of registered or certified delivery or 72 hours
after mailing, whichever is earlier.

       12.2    Expenses. Each party shall bear its own expenses and costs, including the fees and expenses
of any attorney retained by it, incurred in connection with the preparation of this Agreement and the
consummation of the transactions contemplated hereby.

        12.3     Governing Law. This Agreement shall be governed by and construed in accordance with
the Laws of the State of Florida (without application of principles of conflicts of law). In connection with
any controversy arising out of or related to this Agreement, Sellers and Buyer hereby irrevocably consent
to the exclusive jurisdiction of the Bankruptcy Court, or if, and only if, the Bankruptcy Cases have been
closed, the state or federal courts located in the State of Delaware. Sellers and Buyer each irrevocably
consents to service of process out of the aforementioned courts and waives any objection which it may now
or hereafter have to the laying of venue of any action or proceeding arising out of or in connection with this
Agreement brought in the aforementioned courts.

        12.4      Assignment. This Agreement binds and benefits the parties and their respective successors
and assignees. No party hereto shall have the right to freely assign any of its rights or delegate performance
of any of its obligations under this Agreement, without the prior written consent of the other parties, except
that Buyer may assign any of its rights and delegate performance of any of its obligations under this
Agreement (a) to any Affiliate of Buyer, or (b) in connection with a business combination transaction,
provided that no such assignment or delegation will relieve Buyer from any of its obligations hereunder.




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        12.5    Successors and Assigns. Subject to Section 12.4, all agreements made and entered into in
connection with this Transaction shall be binding upon and inure to the benefit of the parties hereto, their
successors and permitted assigns.

         12.6     Amendments; Waivers. No alteration, modification or change of this Agreement shall be
valid except by an agreement in writing executed by the parties hereto. Except as otherwise expressly set
forth herein, no failure or delay by any party hereto in exercising any right, power or privilege hereunder
(and no course of dealing between or among any of the parties) shall operate as a waiver of any such right,
power or privilege. No waiver of any default on any one occasion shall constitute a waiver of any
subsequent or other default. No single or partial exercise of any such right, power or privilege shall preclude
the further or full exercise thereof.

        12.7     Entire Agreement. This Agreement (including the Exhibits which are hereby incorporated
by reference into and made a part of this Agreement for all purposes) merges all previous negotiations and
agreements between the parties hereto, either verbal or written, and constitutes the entire agreement and
understanding between the parties with respect to the subject matter of this Agreement.

        12.8   Counterparts. This Agreement may be executed in one or more counterparts, each of which
when so executed shall be an original, but all of which together shall constitute one agreement. Facsimile
and/or PDF signatures shall be deemed original signatures.

        12.9     Severability. If any provision of this Agreement or the application thereof to any Person or
circumstance shall be invalid or unenforceable to any extent, the remainder of this Agreement and the
application of such provision to other Persons or circumstances shall not be affected thereby and shall be
enforced to the greatest extent permitted by law, but only as long as the continued validity, legality and
enforceability of such provision or application does not materially (a) alter the terms of this Agreement, (b)
diminish the benefits of this Agreement or (c) increase the burdens of this Agreement, for any Person.

         12.10 Section Headings; Interpretation. The section headings contained in this Agreement are
solely for the purpose of reference, are not part of the agreement of the parties and shall not in any way
affect the meaning or interpretation of this Agreement. As both parties have participated in the drafting of
this Agreement, any ambiguity shall not be construed against either party as the drafter. Unless the context
of this Agreement clearly requires otherwise, (a)                                 frequently identified with
                       (b)
                                    (c)
import relate to this Agreement.

        12.11 Third Parties. Nothing herein, expressed or implied, is intended to or shall confer on any
Person other than the parties hereto any rights, remedies, obligations or Liabilities under or by reason of
this Agreement.

         12.12 Specific Performance. Buyer and Sellers agree that irreparable damage would occur and
that the parties hereto would not have any adequate remedy at law in the event that any of the provisions of
this Agreement were not performed in accordance with their specific terms or were otherwise breached. It
is accordingly agreed that the parties shall be entitled to an injunction or injunctions to prevent breaches or
threatened breaches of this Agreement and to enforce specifically the terms and provisions of this
Agreement in the Bankruptcy Court without proof of actual damages or otherwise (and, to the fullest extent
permitted by Law, each party hereby waives any requirement for the securing or posting of any bond in
connection with such remedy), this being in addition to any other remedy to which they are entitled at law
or in equity.


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         12.13 Exhibits. The Exhibits attached to this Agreement shall be construed with and as an integral
part of this Agreement to the same extent as if the same had been set forth verbatim herein. Any capitalized
terms used in any Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

        12.14    Definitions. For purposes of this Agreement, the term:

                (a)      Advisors means, with respect to any Person, any directors, officers, employees,
investment bankers, financial advisors, accountants, agents, attorneys, consultants, or other representatives
of such Person.

                 (b)       Affiliate
controls, or is controlled by, or is under common control with, such Person. As used in this definition,

means the possession, directly or indirectly, of the powers to direct or cause the direction of management
or policies of a Person, through the ownership of securities or partnership or other ownership interests, by
contract or otherwise.

               (c)     Bidding Procedures                                                    Exhibit 1 to the
Bidding Procedures Order.

                 (d)      Bidding Procedures Order                Order Granting Expedited Motion of
Debtors for (i) Entry of an Order (a) Approving Certain Bidding Procedures and the Form and Manner of
Notice Thereof, (b) Scheduling an Auction and a Hearing on the Approval of the Sale of All or Substantially
All of the
and Approving Manner of Notice Thereof, and (d) Scheduling a Hearing to Approve Assumption and
Assignment of the Assumed Contracts; (ii) Entry of an Order (a) Authorizing the D             Entry into an
Asset Purchase Agreement; and (b) Authorizing the Sale of All or Substantially All of the D          Assets
Free and Clear of All Encumbrances; (iii) Entry of an Order Approving the Assumption and Assignment
of the Assumed Contracts; and (iv) Related Relief, Docket No. 97 entered by the Bankruptcy Court on
December 4, 2024.

                 (e)     Business Day
close in the City of New York, New York.

                 (f)      Claim

               (g)      Code
Regulations promulgated thereunder.

                 (h)       Contract
benefit plan or other instrument whether written or oral.

                 (i)

                 (j)      Governmental Entity
municipal, local or foreign government or any instrumentality, subdivision, court, administrative agency or
commission or other authority thereof.

                  (k)      Intellectual Property
provincial (i) patents and patent applications, and all patents issuing thereon, including without limitation
utility, model, industrial design and design patents and certificates of invention, together with all reissue


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patents, patents of addition, divisionals, provisional applications, renewals, continuations, continuations-
in-part, substitutions, additions, extensions, confirmations, re-examinations, and all foreign counterparts of
the forgoing which are in the process of being prepared, and all inventions and improvements disclosed
                         Patents (ii) trademarks, service marks, trade dress, trade names, brand names,
designs, logos, commercial symbols and corporate names, and all registrations, applications, and goodwill
                                       Trademarks (iii) copyrights and all works of authorship, whether or
not registered or copyrightable, and all applications, registrations, and renewals in connection therewith
                 Copyrights (iv) software, including without limitation computer programs, operating
systems, applications, software, firmware, tools, data files, databases, graphics, schematics, interfaces,
architecture, file formats, routines, algorithms, and any and all specifications and documentation (including
                                                                               Software (v) domain names,
Internet addresses and other computer identifiers, web sites, URLs, web pages, unique phone numbers,
                                                                                         Domain Names (vi)
confidential and proprietary information, including without limitation, trade secrets, know-how, formulae,
ideas, concepts, discoveries, innovations, improvements, results, reports, information and data, research,
laboratory and programmer notebooks, methods, procedures, proprietary technology, operating and
maintenance manuals, engineering and other drawings and sketches, customer lists, supplier lists, pricing
information, cost information, business manufacturing and production, processes, techniques, designs,
                                                  Trade Secrets      (vii) all other intellectual property and
proprietary rights in any form or medium known or later devised; and (viii) all copies and tangible
embodiments, goodwill, rights of priority and protection of interests therein, and rights to recover for past,
present and future infringement associated with any of the foregoing.

                (l)       IRS

                 (m)      Knowledge of Sellers                                     Jonathan Feldman, CRO,
after due inquiry.

                 (n)       Law
ordinance, rule or regulation of any Governmental Entity.

                (o)       Lease

                  (p)      Legal Proceeding
litigation or suit (whether civil, criminal, administrative, investigative or informal) commenced, brought,
conducted or heard by or before, or otherwise involving, any Governmental Entity or arbitrator.

                 (q)      Liability
commitment or obligation (whether direct or indirect, absolute or contingent, accrued or unaccrued,
liquidated or unliquidated, or due or to become due) of every kind and description, including all costs and
expenses related thereto.

              (r)      Lien
encumbrance of any kind.

                 (s)       Ordinary Course of Business means the ordinary and usual course of normal
day-to-day operations of Sellers business, as conducted by Sellers consistent with past custom and practice
(including with respect to quantity and frequency) prior to the date of the commencement of the Bankruptcy
Cases; provided, that in no event shall Ordinary Course of Business include any breach of Law or
Contract, or violation of any Permit.


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                (t)       Outside Date           December 19, 2024.

                  (u)        Permit
registration, certification, accreditation and consent of any Governmental Entity.

                 (v)      Permitted Liens            ) Liens for utilities and current Taxes not yet due and
payable, being contested in good faith, or the nonpayment of which is permitted or required by the
Bankruptcy Code; (ii) easements, rights of way, restrictive covenants, encroachments and similar non-
monetary encumbrances or non-monetary impediments that do not, individually or in the aggregate,
adversely affect the operation of the business of Sellers, (iii)
                                                            r statutory liens incurred in the Ordinary Course
for amounts not yet due and payable, (iv) licenses granted on a non-exclusive basis, (v) such other Liens or
title exceptions as Purchaser may approve in writing in its sole discretion or that do not, individually or in
the aggregate, materially and adversely affect the operation of the business of Sellers, (vi) any Liens set
forth on Schedule 12.14(v), and (vii) any Liens that will be removed or released by operation of the Sale
Order.

               (w)       Person
company, an association, a trust or any other entity or organization, including a Governmental Entity.

                (x)       Qualified Bid

                (y)       Sale Hearing

                (z)      Sale Motion
accordance with Section 2.2 seeking (i) approval of the terms and conditions of the Transaction Documents,
and (ii) authorization for (A) the sale of the Transferred Assets and pursuant to Section 363 of the
Bankruptcy Code and (B) the assumption and assignment of the Assumed Contracts pursuant to Section
365 of the Bankruptcy Code, free and clear of all Liens.

                 (aa)     Sale Order                                              (in a form acceptable to
Buyer in its sole and absolute discretion), which shall, among other things, comply with Section 2.3(a).

                (bb)      Securities Act

                (cc)     Sellers-Owned Intellectual Property          s any and all Intellectual Property that
is owned or purported to be owned by or proprietary to Sellers.

                 (dd)    Subsidiary
amount of the outstanding voting securities of which sufficient to elect at least a majority of its board of
directors or other governing body (or, if there are not such voting securities, 50% or more of the equity
interests of which) is owned or controlled, directly or indirectly, by such Person.

                 (ee)    Tax
similar fees, assessments or charges (together with any and all interest, penalties and additions to tax
imposed with respect thereto) imposed by any tax authority, including taxes or other charges on or with
respect to income, franchises, windfall or other profits, gross receipts, severance, excise, property, sales,

compensation, unclaimed property, escheatment or net worth, and taxes or other charges in the nature of
excise, withholding, ad valorem or value added; and (ii) any Liability for the payment of amounts described
in clause (i) as a result of being a successor, a transferee or a member of an affiliated, consolidated,


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combined or unitary group, or as a result of any obligation under any Tax sharing, indemnity or similar
agreement or other Contract or arrangement.

                (ff)      Tax Return
information return or statement or other document relating to, or required to be filed in connection with,
any Taxes, including any schedule, form, attachment thereto or amendment thereof.

                 (gg)    Transaction Documents
documents and instruments executed in connection herewith or required to be executed and/or delivered by
Sellers in accordance with the provisions of this Agreement.

                                  [The next page is the signature page.]




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                 IN WITNESS WHEREOF, the parties hereto have caused their respective authorized
officers to duly execute this Asset Purchase Agreement as of the day and year first written above.


                                                 G3 Business Services LLC


                                                 By:
                                                 Name: Gayathri Boyapalli
                                                 Title: President
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                              SHIFTPIXY, INC., SHIFTPIXY
                              STAFFING,INC. AND RETHINK HUMAN
                              CAPITALMANGEMENT, INC.




                              By:
                              Name:
                              Title:
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                              SCHEDULE 1.1

                                Schedule A

                               Trademarks

              UNITED STATES    REGISTERED TRADEMARKS

    Mark            Image        Serial Number     Registration Date    Status

                                      88479540          2020-01-14      Live



SHIFTPIXY LABS                        90159815          2022-12-27      Live


                                      88437998          2019-12-31      Live



    ZIPIXY                            88533774          2020-02-11      Live


  SHIFTPIXY                           86777367          2016-12-27      Live


  SHIFTPIXY                           86786929          2016-12-27      Live


SHIFTPIXY LABS                        88437998                          Dead
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                                          Schedule B

                                            Domains

 ShiftPixy.com



 Seller can convey right, title and interest                             to the following domain
               names, and is investigating the ability to transfer them to a buyer.



vitalhuman.capital

techstackery.com

technologyhuman.capital

shiftpixylabs.wordpress.com

eqngo7.wordpress.com

labs.shiftpixy.com

shiftablehr.wordpress.com

rethinkhcm.com

nativedelivery.wordpress.com

marketpixy.com

insurety.capital

industrialhuman.capital

agilehuman.capital

healthhuman.capital

firemark.global

firemarkglobal.com

fastpitchen.com

                                       cluckinlucky.com
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                       Schedule C

                         Patents
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                                             Schedule D

                                       Social Media Accounts

Seller can convey right, title and interest to these assets, yet does not currently have the ability to
                                      transfer them to a buyer.

Platform                               Username                     Reach

Facebook                               ShiftPixy                    6,700 Followers

Instagram                              ShiftPixy                    560 Followers

LinkedIn                               ShiftPixy                    2,000 Followers

Twitter                                ShiftPixy                    17,800 Followers

YouTube                                ShiftPixy                    796 Subscribers

TikTok                                 ShiftPixy                    34 Followers
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                         Schedule E

                          Software

            proprietary software platform and mobile application
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                                       Schedule F

                     Contracts with Vendors for Software Platform

Sendgrid
Twillio
MongoDB
AWS
GitLab
GitHub
HelloSign (Dropbox)
IBM Watson
OpenAI ChatGPT
Humanity
Microsoft - 365, AppCenter, Azure
Okta
Google Play Store
Apple Play Store
Egnyte
DreamHost
Wordpress
EasyDNS
Intacct (Accouting)
Prism
LastPass
Turn and/or Asurint
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                                          Schedule G

                                      Active Client List

Kose (Decorte)

Lions Floor

Seed School

Nilfisk

PoolCorp

Pactiv Evergreen

Little Caesars (Blue Line Distribution)

KW Property Management Co.

Bond No. 9

Century Trade Show Services, LLC.

Unbrako

Little Sister

Pasadena Baking Company
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                                             Schedule H



                                            Public Shell



Right, title, and interest to the $PIXY public shell.
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